Case 1:19-cv-00226-PLM-PJG ECF No. 50 filed 01/14/20 PageID.1219 Page 1 of 3




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                  Filed: January 14, 2020


Keeley Danielle Blanchard
Law Office
P.O. Box 938
Greenville, MI 48838

Mr. Scott Robert Eldridge
Miller Canfield
1 Michigan Avenue
Suite 900
Lansing, MI 48933

Ashley N. Higginson
Miller Canfield
1 Michigan Avenue
Suite 900
Lansing, MI 48933

Mr. Kamil Robakiewicz
Miller Canfield
1 Michigan Avenue
Suite 900
Lansing, MI 48933

Mr. Brian M. Schwartz
Miller Canfield
150 W. Jefferson Avenue
Suite 2500
Detroit, MI 48226

                     Re: Case No. 20-1043, John Doe v. Michigan State University, et al
                         Originating Case No. : 1:19-cv-00226

Dear Counsel,
Case 1:19-cv-00226-PLM-PJG ECF No. 50 filed 01/14/20 PageID.1220 Page 2 of 3



   This appeal has been docketed as case number 20-1043 with the caption that is enclosed on a
separate page. The appellate case number and caption must appear on all filings submitted to the
Court. If the filing fee was not paid when the notice of appeal was filed, it must be paid to the
district court immediately.

   Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
registered with this court as an ECF filer, you should do so immediately. Your password for
district court filings will not work in the appellate ECF system.

    At this stage of the appeal, the following forms should be downloaded from the web site and
filed with the Clerk's office by January 28, 2020. Additionally, the transcript order must be
completed by that date. For further information and instructions on ordering transcript
electronically, please visit the court's website.

                                 Appearance of Counsel
                   Appellant:    Civil Appeal Statement of Parties & Issues
                                 Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

                                 Appearance of Counsel
                   Appellee:     Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

    More specific instructions are printed on each form. If appellant's initial forms are not timely
filed or necessary fees paid, the appeal will be dismissed for want of prosecution. If you have
questions after reviewing the forms and the rules, please contact the Clerk's office for assistance.

                                                  Sincerely yours,

                                                  s/Bryant L. Crutcher
                                                  Case Manager
                                                  Direct Dial No. 513-564-7013


Enclosure
Case 1:19-cv-00226-PLM-PJG ECF No. 50 filed 01/14/20 PageID.1221 Page 3 of 3



               OFFICIAL COURT OF APPEALS CAPTION FOR 20-1043




JOHN DOE

            Plaintiff - Appellant

v.

MICHIGAN STATE UNIVERSITY; ROBERT KENT; RICK SCHAFER; ARON
SOUSA, M.D., in their individual and official capacities, jointly and severally

            Defendants - Appellees.
